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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:25-cv-20757-JB/Torres

 JANE DOE,

       Plaintiff,

 v.

 STEVEN K. BONNELL II,

      Defendant.
 __________________________/

           PLAINTIFF JANE DOE’S REPLY TO OPPOSITION TO MOTION
      FOR ENTRY OF ORDER TO COMPEL LOLCOW LLC TO REMOVE VIDEOS


       COMES NOW Plaintiff Jane Doe, and by and through undersigned counsel, files her Reply

 to Defendant Steven Bonnell II’s Opposition to Motion to For Entry of Order to Compel Lolcow,

 LLC to Remove Videos, and as grounds therefor states as follows:

        1. Plaintiff’s Motion for Entry of Order to Compel Lolcow, LLC to Remove Videos

 (“Motion”) (Dkt. No. 80) seeks to have Lolcow, LLC, the owner of the Kiwifarms website, remove

 the sexually explicit videos of Plaintiff, originally shared by the Defendant, which were uploaded

 to the Kiwifarms website as a direct result of Defendant’s nonconsensual sharing of said video.

        2. Defendant opposes the Motion on four purported grounds: i) the Court’s lack of subject

 matter jurisdiction; ii) the Court’s lack of jurisdiction over nonparty Lolcow, LLC; iii) Defendant’s

 claim that the requested relief is arbitrary; and iv) Defendant’s claim that there is no basis upon

 which to award attorney’s fees.

                                      a. Subject Matter Jurisdiction
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       Defendant erroneously states that this court lacks subject matter jurisdiction over the claims

 involved in this action which arise out of federal statute, 15 U.S.C. § 6851, Civil Action Relating

 to Disclosure of Intimate Images Act (“CARDII”). The Defendant takes this misguided position

 based on his claim that the one and only time he shared this video was prior to the statute being

 enacted. Plaintiff has presented this Court with competent evidence that directly rebuts and

 disproves Defendant’s assertion.

         The Court has subject matter jurisdiction because the claims arise under 15 U.S.C. § 6851.

 The burden of proof to establish subject matter jurisdiction is on the Plaintiff to support their claims

 with regards to jurisdiction by competent proof. See Thomson v. Gaskill, 315 U.S. 442, 446, 62 S.

 Ct. 673, 675 (1942) (finding that if a plaintiff's allegations of jurisdictional facts are challenged by

 the defendant, the plaintiff bears the burden of supporting the allegations by competent proof).

                 In a factual challenge, the defendant tests the accuracy of the
                 allegations by establishing facts that contradict the allegations and
                 show a lack of subject matter jurisdiction. Thus, a factual challenge
                 requires the court to look beyond the pleadings and review other
                 evidence such as testimony and affidavits. In a factual challenge, the
                 defendant has the burden to produce evidence to contradict the
                 plaintiff's allegations. If the burden is met, the allegations do not
                 carry a presumption of truthfulness. The ultimate burden to prove
                 that subject matter jurisdiction exists generally lies with the
                 plaintiff.

         Mantz v. Saul, No. 19-81599-Civ, 2020 U.S. Dist. LEXIS 193110, at *4 (S.D. Fla. Oct. 15,

         2020)

         The statute, which became law on October 1, 2022, allows for an individual to file a federal

 civil suit against anyone who discloses intimate visual depictions without the consent of the person

 depicted. Disclosure is defined as an act “to transfer, publish, distribute, or make accessible.” 15

 U.S.C. § 6851. “This is a broad definition" and “[i]n construing a statute [the Court] must begin,
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 and often should end as well, with the language of the statute itself." Doe v. McCoy, No. 1:23-cv-

 3169-MLB, 2024 U.S. Dist. LEXIS 33901, at *6 (N.D. Ga. Feb. 28, 2024) (quoting Merritt v.

 Dillard Paper Co., 120 F.3d 1181, 1185 (11th Cir. 1997). “Publish means to disseminate to the

 public; distribute [*7] means to give out or deliver, especially to members of a group; and to make

 something accessible means to make something capable of being reached . . . or seen.” Id.

        i.      Paragraph 23 of the Complaint

       The Defendant has admitted he did disclose such an image, yet claims this court lacks subject

 matter jurisdiction because the actual action of sending the link containing the intimate depiction

 was done prior to the statute’s taking effect. [ECF 42]. The Complaint [ECF No. 1] alleges that not

 only did Defendant share the video with an individual who goes by the screenname “Rose” but in

 paragraph 23 it also states that the Defendant shared the video with another individual just a couple

 months prior to this lawsuit. In the Defendant’s answer, this allegation is denied due to “lack of

 information and-or belief.” [ECF No. 17]. This denial, and the lack of any evidence which

 contradicts the claim made in paragraph 23, is insufficient with regards to making a showing that

 counters the claims in the Complaint and fails to establish the Defendant’s position that this Court

 lacks subject matter jurisdiction.

        ii. Google and Discord links

        Additionally, the evidence shows that the Defendant sent the video to Rose on Discord. It

 is Plaintiff’s position, which is supported by evidence, that Defendant did so either as a media

 attachment on Discord or as a video linked to a Google Drive. If the video was shared on Discord,

 then the platform automatically creates a link and anyone with access to that link can access the

 video. Every video sent on discord automatically is embedded with a media attachment link. This

 link is a "live link," anyone with this link can view the video. Defendant has demonstrated
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 knowledge of this feature because he routinely shares discord media links in his public chat. The

 same analysis applies to both sharing the video through Discord or sharing the video as a Google

 Drive link.

        The evidence clearly points to Defendant’s predatory and abusive behavior, including his

 pattern of sharing videos of the same nature and in the same form – “I just throw stuff into Google

 Drive and link from there.” [ECF 42-2]. Defendant admits that he kept these type of intimate

 depictions on his google drive and would share a link to share the content.

        Defendant claims that the sole time he shared this link was on April 10, 2022. Defendant’s

 evidence with regards to the initial disclosure does not sufficiently counter the claims that the

 disclosure was in October, to do that he would have to provide the subsequent logs until after the

 date change, which he has this far failed to do despite his claims that they are readily accessible

 and in his possession. Even if we were to believe this is true, Ms. Doe is not asking this Court to

 apply the statute retroactively. Given that Defendant’s conduct in making the content continuously

 available through this link for years satisfies the statute and controls subject matter jurisdiction.

 Ms. Doe was not the only victim of the Defendant’s nonconsensual sharing of videos, in facts

 others have alleged that the Defendant disseminated their videos through Google Drive links as

 well. The Defendant’s use of google drive for this kind of content is well documented, and

 specifically mentioned by the individual who gained access to the videos which were leaked. The

 act of making this type of content accessible without the consent of the individual portrayed in the

 sexually explicit image or video is exactly what CARDII was enacted to prevent.

       By hosting the content on these links, whether it be a Google link, or a Discord link, the

 Defendant was making the content accessible for years after the passing of the statute. Not only

 were the videos accessible through November 2024, when an individual by the screen name of
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 “Solotinyleaks” posted them on the internet, those links were active and accessible up to January

 of this year. (Dkt. No. 49-4). Thus, this Court has subject matter jurisdiction.

        iii. Declarations

       Ms. Doe has provided this court with the declaration under penalty of perjury of a witness,

 which was filed under seal. [ECF No. 49-2]. This declaration states that on or about November 3,

 2024, the Defendant shared the sexually explicit video depicting Plaintiff with the declarant. As a

 result of the Defendant deleting all his messages with declarant, the exact date of the sharing is

 unknown at this moment. However, we do know for certain that this could not have occurred

 before the year 2023 because, as Defendant has admitted, he did not meet declarant until 2023 –

 well after the statute became law.

       Ms. Doe also provided this court with messages from November 3, 2024, between the same

 declarant and a friend. In these messages, the declarant tells her friend that Defendant did in fact

 share the video of Plaintiff with her [ECF No. 86-1]. The mass publication of the video, which

 occurred because of the Defendant continuously making this content accessible, occurred on

 November 29th, 2024, which means the declarant would not have known about the existence of

 these videos at the time she sent this message if it were not because the Defendant did in fact share

 the video with her. The evidence which has been submitted is more than sufficient to show that

 the Defendant shared the video with the declarant after the date in which the statute was enacted.

 The declaration and the evidence submitted in support thereof, serve as another avenue for the

 Court’s subject matter jurisdiction over these claims.

                               b. Jurisdiction over Nonparty Lolcow, LLC

       Despite Defendant’s claims of being continuously harmed by the publication of these videos

 on Kiwifarms, his alleged extraneous efforts to have these videos removed (which he was recently
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 forced to admit was his assistant sending a singular email to the website owner) and Lolcow, LLC

 is agreeing to remove these videos if directed by a court order, Defendant now takes up issue with

 Lolcow, LLC’s status as a nonparty in this case based on an alleged lack of jurisdiction by this

 Court over the nonparty. Attached hereto as Exhibit A, is the stipulation of Lolcow, LLC to subject

 itself to this Court’s jurisdiction in regards to the proposed court order. [ECF No. 80-1]. Thus, this

 court does have jurisdiction over Lolcow, LLC with regards to this specific proposed order. [ECF

 No. 80-1]

                                           c. Requested Relief

       Defendant claims that removing these videos is arbitrary relief, even though he

 contradictorily claims that he has tried to have them removed to no avail and continues to victimize

 himself with regards to the alleged damages he is now facing because this video was posted

 (despite him making this content continuously accessible). The need for these videos to be taken

 down is evident and the situation speaks for itself, the fact that Defendant requires an explanation

 as to how having these videos removed would constitute proper relief is truly appalling. The relief

 requested is but one step towards correcting the wrong caused by Defendant to Plaintiff. While

 Defendant may be comfortable with having this type of private content on the internet, Plaintiff is

 not and continues to suffer extreme emotional distress because of the publication of this video – a

 concept everyone but the Defendant seems to understand. Additionally, the Defendant has

 continuously ridiculed and mocked Ms. Doe after the video was leaked to his followers on his

 online platforms, including directing his followers to the Kiwifarms site. [ECF No. 52-2]. Granting

 this order would be proper as it would serve to prevent imminent irreparable harm to Plaintiff. The

 imminent irreparable harm is that of Ms. Doe’s mental health and her quality of life. "An injury is

 'irreparable' only if it cannot be undone through monetary remedies." Barrett v. Walker Cnty. Sch.
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 Dist., 872 F.3d 1209, 1229 (11th Cir. 2017) (quoting Deerfield Med. Ctr. v. City of Deerfield

 Beach, 661 F.2d 328, 338 (5th Cir. Unit B 1981)).

 D. Attorney’s Fees

       Defendant opposes the Plaintiff being awarded attorney’s fees because he claims there was

 a failure to meet and confer. In fact, Defendant’s own attachments show that there was an attempt

 by Plaintiff to reach a solution to this prior to presenting it to the court. Defendant was initially

 willing to agree to the motion, until Plaintiff informed them that the additional links they sent did

 not include any content which contained Ms. Doe and that Lolcow, LLC had only agreed to remove

 content of Plaintiff. Plaintiff’s request for attorney’s fees does not arise out of bad faith but out of

 the fact that Plaintiff spent a considerable amount of money in having her attorneys coordinate the

 removal of this video which was posted because of the Defendant’s own actions.

       WHEREFORE, Plaintiff’s Motion, Reply, and exhibits having been considered, Plaintiff

 prays that her Motion for Entry of Order to Compel Lolcow, LLC to Remove Videos be granted,

 and Plaintiff further prays for such other and general relief as the Court deems necessary and

 proper.

       Dated: June 6th, 2025.



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                                                     CARLOS A. GARCIA PEREZ
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 6, 2025 a true and correct copy of the foregoing was

 served on all parties via the CM/ECF filing portal to all counsel of record.


                                                      By: /s/ Carlos A. Garcia Perez

                                                      CARLOS A. GARCIA PEREZ
                                                      Attorney for Plaintiff
